Case 1:21-cv-24125-DPG Document 8 Entered on FLSD Docket 12/23/2021 Page 1 of 6




               IN THE UNITED STATES DISTRICT COURT
          IN AND FOR THE SOUTHERN DISTRICT OF FLORIDA


                                                   Case #: 21-cv-24125-DPG
 DRO l 5R, LLC and RAZIEL OFFER,
     Plaintiffs,
 vs.
 MIAMI DADE PROPERTY APPRAISER'S OFFICE,
 PROPERTY APPRAISER PEDRO J. GARCIA,
 DEPUTY PROPERTY APPRAISER LAZARO SOLIS,
 STAFF ATTORNEY MATTHEW ALBRECHT, ESQ.,
 RONIEL RODRIGUEZ, ESQ., and STUART KALB,
      Defendants.
 _____________________________________________/


                     MOTION FOR ORDER TO REMAND
 Plaintiffs DRO 1 5 R, LLC and RAZIEL OFER, through undersigned

 counsel and pursuant to 28 U.S.C. § 1447(c), hereby files this Motion to

 Remand this action to the Circuit Court of the 11th Judicial Circuit in and for

 Miami-Dade County, Florida, and in support states:


                                 SUMMARY


 Defendant Roniel Rodriguez effort to remove this case to the Federal Court

 failed to comply with the procedural requirements regarding unanimity, and

 this case should be remanded to the State Court and Defendant ordered to pay



                                         1
Case 1:21-cv-24125-DPG Document 8 Entered on FLSD Docket 12/23/2021 Page 2 of 6




 Plaintiffs’ attorneys fees and costs in connection with filing this Motion for

 Order to Remand.


                     PROCEDURAL BACKGROUND


 1.    Plaintiffs filed an action against six Defendants in the Circuit Court for

       the Eleventh Judicial Circuit, in and for Miami-Dade County, Florida,

       Case No.: 2021-025489-CA-01 (the "State Court Action"), on

       November 18, 2021.

 2.    One of the six defendants, Roniel Rodriguez, filed for removal to

       Federal Court on November 23 2021.

 3.    Despite being notified of Defendant Roniel Rodriguez’s filing to

       remove the case to Federal Court, not one of the other five Defendants

       (including Roniel Rodriguez’s business partner Stuart Kalb) chose to

       join in the removal.



                      APPLICABLE LAW ON REMOVAL
 4.    Removal is proper in “any civil action brought in a State court of which the

       district courts of the United States have original jurisdiction.” 28 U.S.C. §

       1441(a). Original jurisdiction must be established with either federal question

       jurisdiction pursuant to 28 U.S.C. § 1331 or diversity jurisdiction pursuant to


                                          2
Case 1:21-cv-24125-DPG Document 8 Entered on FLSD Docket 12/23/2021 Page 3 of 6




       28 U.S.C. § 1332. Federal question jurisdiction exists when the civil action

       arises “under the Constitution, laws, or treaties of the United States.” 28

       U.S.C. § 1331. The burden of establishing federal jurisdiction falls on the

       party seeking to invoke the jurisdiction of the federal court. McNutt v. Gen.

       Motors Acceptance Corp., 298 U.S. 178, 189 (1936).

 5.    Courts strictly construe the requirements of 28 U.S.C. § 1441 (removal

       jurisdiction) and remand all cases in which jurisdiction is doubtful. Shamrock

       Oil & Gas Corp. v. Sheets, 313 U.S. 100, 109 (1941); Univ. of So. Ala v.

       American Tobacco Co., 168 F.3d 405, 411 (11 Cir. 1999). Courts determine

       jurisdiction by looking at the plaintiff’s complaint at the time of removal.

       “While a defendant does have a right, given by statute, to remove in certain

       situations, plaintiff is still the master of [its] own claim.” Burns v. Windsor

       Ins. Co., 31 F.3d 1092, 1095 (11 Cir. 1994). “[R]emoval statutes are construed

       narrowly; where plaintiff and th defendant clash about jurisdiction,

       uncertainties are resolved in favor of remand.” Id. at 1095.

 6.    The party seeking removal bears the burden of satisfying each of the

       preconditions by showing the existence of federal subject matter jurisdiction.

       See Phillips Petroleum Co. v. Texaco, Inc., 415 U.S. 125, 127–28, 94 S. Ct.

       1002, 1003, 39 L. Ed. 2d 209 (1974); Pacheco de Perez v. AT & T Co., 139

       F.3d 1368, 1373 (11th Cir. 1998); Burns v. Windsor Inc. Co., 31 F.3d 1092,


                                          3
Case 1:21-cv-24125-DPG Document 8 Entered on FLSD Docket 12/23/2021 Page 4 of 6




       1095 (11th Cir. 1994) (the defendant seeking removal has the heavy burden

       of proving removal is proper). Remand is favored when there is a doubt as to

       whether removal was proper. See Russell Corp. v. American Home Assurance

       Co., 264 F.3d 1040, 1050 (11th Cir. 2001).



                                   Rule of Anonymity
 7.    In cases where there are multiple defendants, the rule of unanimity mandates

       that all defendants join in removing the state court action to federal court. See

       Russell Corp., 264 F.3d at 1049 (affirming district court’s remand to state

       court for lack of unanimous consent to removal).

 8.    Pursuant to § 1446(b), “[t]he notice of removal of a civil action or proceeding

       shall be filed within thirty days after the receipt by the defendant, through

       service or otherwise, of a copy of the initial pleading setting forth the claim

       for relief upon which such action or proceeding is based.” 28 U.S.C. §

       1446(b).

                                       ANALYSIS
 9.    The rule of anonymity has not been satisfied because none of the other 6

       defendants, including Roniel Rodriguez’s business partner Stuart Kalb, have

       joined in the removal.




                                           4
Case 1:21-cv-24125-DPG Document 8 Entered on FLSD Docket 12/23/2021 Page 5 of 6




 10.   As a result, the removal is procedurally improper and this case should be

       remanded to the state court.




 WHEREFORE, Plaintiffs respectfully request that this Court remand this matter

 back to the State Court.




                REQUEST FOR ATTORNEY’S FEES AND COSTS
 Along with remand of a case upon unsuccessful removal, the district court may

 award “just costs and any actual expenses, including attorney’s? fees, incurred as a

 result of the removal.” 28 U.S.C. § 1447(c). The award of fees and costs is in the

 discretion of the district court. Lussier v. Dollar Tree Stores, Inc., 518 F.3d 1062,

 1065 (9th Cir. 2008). “Absent unusual circumstances, courts may award attorney’s

 fees under § 1447(c) only where the removing party lacked an objectively reasonable

 basis for seeking removal. Conversely, when an objectively reasonable basis exists,

 fees should be denied.” Martin v. Franklin Capital Corp., 546 U.S. 132, 141 (2005).




 I HEREBY CERTIFY that foregoing has been reviewed by the undersigned and is

 being submitted in good faith pursuant to Rule 11 FRCP.
                                          5
Case 1:21-cv-24125-DPG Document 8 Entered on FLSD Docket 12/23/2021 Page 6 of 6




                                                    Respectfully submitted,
                                                    By: _ s./ DJW __________
                                                    David J. Winker, Esq., B.C.S.
                                                    Fla. Bar. No. 73148
                                                    David J. Winker, P.A.
                                                    4720 S. LeJeune Rd Coral
                                                    Gables, Fl 33146
                                                    dwinker@dwrlc.com
                                                    305 801 8700


                           CERTIFICATE OF SERVICE
    I HEREBY CERTIFY that a true and correct copy of the foregoing was

    electronically filed with the Clerk of Court on December 23, 2021, and served on

    the following attorneys: Roniel Rodriguez Esq. Keystone Executive Plaza 12555

    Biscayne Blvd., 915 N. Miami, Florida 33181; Matthew Albrecht, Esq., Miami-

    Dade County, 13061 SW 14 Pl, Miami, FL 33186, mjal@mdcpa.net; using

    CM/ECF, in the manner specified, either via transmission of Notice of Electronic

    Filing generated by CM/ECF or in some other authorized manner for those

    counsel or parties who are not authorized to receive electronically Notice of

    Electronic Filings.

                                             By: ___ s./ DJW __________
                                             David J. Winker, Esq., B.C.S.
                                             Fla. Bar. No. 73148




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